          Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 1 of 6 PageID 202
A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                                 UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                                                  CASE NUMBER: 8:05-cr-258-T-30MAP
                                                                  USM NUMBER: 42961-018
VS.




JOSE BARRIOS-JAMES
                                                                  Defendant's Attorney: Ronald Marzullo, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE (1) and TWO (2) of the Indictment.
-pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count($ after a plea of not guilty.

TITLE & SECTION                           NATURE OF OFFENSE                                   OFFENSE ENDED             COUNT
21 U.S.C. 5 960                           Conspiracy to Possess With Intent to                June 10, 2005             One
                                          Distribute 5 Kilograms or More of Cocaine
                                          While On Board a Vessel Subject to the
                                          Jurisdiction of the United States

21 U.S.C. 8 960                           Possession With Intent to Distribute                June 10, 2005             Two
                                          5 Kilograms or More of Cocaine While
                                          On Board a Vessel Subject to the
                                          Jurisdiction of the United States


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
- Count(s) of the Indictment is dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for thisdistrict within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                      Date of Imposition of Sentence: December 16, 2005




                                                                                      DATE: December      / b ,2005
         Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 2 of 6 PageID 203

A 0 245B (Rev 12/03) Sheet 2 - Imprisonment
Defendant:         JOSE BARRIOS-JAMES                                                              Judgment - Page 2 of 6
Case No.:          8:05-cr-258-T-30MAP

                                                             IMPRISONMENT

          After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$0 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of SEVENTY (70) MONTHS as to Counts One and Two of the Indictment, all such term to
run concurrently.



- The court makes the following recommendations to the Bureau o f Prisons:


     The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
          - before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.



                                                                   RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                  to                                        at

                                                                        , with a certified c o p y o f this judgment.



                                                                                          United States Marshal

                                                                     By :

                                                                    Deputy Marshal
          Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 3 of 6 PageID 204
A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           JOSE BARRIOS-JAMES                                                                 Judgment - Page 3 of 6
Case No.:            8:05-cr-258-T-30MAP
                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to
Counts One and Two of the Indictment, all such terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

           The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
           probation officer.

            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the permission of the court or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation ot'ticer for schooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;

            the defendant shall permit a probation ofticer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer:

            the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

            the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
            permission of the court;

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by thedefendant's criminal record
            or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
            compliance with such notification requirement.
          Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 4 of 6 PageID 205

A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release
--    -


Defendant:           JOSE BARRIOS-JAMES                                                                 Judgment - Page 4 of 6
Case No.:            8:05-cr-258-T-30MAP
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:

-
X          If the defendant be deported, helshe shall not be allowed to re-enter the United States without the express permission of the
           appropriate governmental authority.

-
X          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
           determination that additional drug urinalysis is necessary, the Court authorizes random drug testing not to exceed 104tests
           per year.
             Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 5 of 6 PageID 206
A 0 245B (Rev 12/03) Sheet 5 -Criminal Monetary Penalties

Defendant:
 -   - - -              JOSE BARRIOS-JAMES                                                         Judgment - Page 5 of 6
Case No. :              8:05-cr-258-T-30MAP

                                               CRIMINAL MONETARY PENALTIES

              The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assessment                         -
                                                                     Fine                          Total Restitution

              Totals:             $200.00                            Waived


              The determination of restitution is deferred u n t i l .        An Amended Judgment in a Criminal Case ( A 0 245C) will
              be entered after such determination.
 -            The defendant must make restitution (including community restitution) to the following payees in the amount listed
              below.
              If the defendant makes a parfia! payment, each payee shall receive an approximately proportioned payment, unless
              specified otherwise in the prlority order or: ercenta e payment column below. However, pursuant to 18 U.S.C. 5
                                                            'I'       f
              3664(i), all nonfederal victims must be pal before t e United States.
                                                                                                                   Priority Order or
                                                      *Total                     Amount of                         Percentage of
 Name of Pavee                                      Amount of Loss            Restitution Ordered                  Pavment




                                  Totals:           c                         L

 -            Restitution amount ordered pursuant to plea agreement $
 -            The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
              before the fifteenth day after the date of the judgment, pursuant to 18 U. S .C. Q 36 12(f). All of the payment options on Sheet
              6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -            The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             -          the interest requirement is waived for the - fine           restitution.
             -          the interest requirement for the      fine        restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1IOA, and 113A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
        Case 8:05-cr-00258-JSM-MAP Document 95 Filed 12/19/05 Page 6 of 6 PageID 207
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        JOSE BARRIOS-JAMES                                                                Judgment - Page 6of 6
Case No. :        8:05-cr-258-T-30MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

         -
         X Lump sum payment of $ 200.00 due immediately, balance due
                            -not later than                   , Or

                            -in accordance            C , - D, - E or - F below; or
         -        Payment to begin immediately (may be combined with -C , -D, or -F below); or
         -        Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period-of.         (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
         -        Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e .g ., months or years) .to. commence                   (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
         -        Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
         -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                         payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except                              made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property,
                                                                                                    Z
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs
